           Case 1:20-cv-01765-AKH Document 23 Filed 11/09/20 Page 1 of 2




 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 ----------------------------------------------------------x
 INDEMNITY INSURANCE COMPANY OF
 NORTH AMERICA A/S/O BAKER HUGHES
 CO.,                                                            ORDER REGULATING
                                                                 PROCEEDINGS
                                         Plaintiff,
                                                                 20 Civ. 1765 (AKH)
             -against-
 EXPEDITORS INTERNATIONAL OF
 WASHINGTON, INC., AND MAERSK LINE
 LIMITED,
                                         Defendants.

 -----------------------------------------------------------x

 EXPEDITORS INTERNATIONAL OF
 WASHINGTON, INC.,

                               Third-Party Plaintiff,

              -against-

 CMA CGM, S.A., a France Corporation,

                               Third-Party Defendant.

 ------------------------------------------------------------x

ALVIN K. HELLERSTEIN, U.S.D.J.:

                 On November 6, 2020, I held a telephonic status conference in the above-

captioned matter. As discussed at the conference, this matter shall proceed as follows:

                 1. Plaintiff’s claims against Defendant Maersk Line Limited are dismissed

                     without prejudice. Plaintiff’s claims shall remain pending against Defendant

                     Expeditors International of Washington, Inc.

                 2. On or before November 11, 2020, the parties shall submit a joint letter to the

                     Court defining the issues to be litigated with respect to damage limitations,
         Case 1:20-cv-01765-AKH Document 23 Filed 11/09/20 Page 2 of 2




                and stipulating to a briefing schedule between Plaintiff and Defendant

                Expeditors International of Washington, Inc. concerning the same. This

                stipulation shall also provide that any motions by Third-Party Defendant

                CMA CGM, S.A. concerning personal jurisdiction or forum non conveniens

                will be held in abeyance pending resolution of the damage limitations issue.

                Finally, the stipulation shall provide that all service-of-process issues are

                waived.

             3. On November 20, 2020, at 10:00 a.m., the parties shall appear for a telephonic

                status conference to discuss the proposed stipulation, motion schedule, and

                any applicable tolling agreements. The conference will be held via the

                following call-in number:

                            Dial: 888-363-4749

                            Access code: 7518680

                All participants are directed to call in at least 5 minutes prior to the start of the

                conference. No later than November 18, 2020, at 12:00 p.m., the parties shall

                jointly submit to the court (via the email address

                HellersteinNYSDChambers@nysd.uscourts.gov) a list of all counsel expected

                to appear on the record, along with their contact information.



             SO ORDERED.

Dated:       November 9, 2020                ___________/s/____________________
             New York, New York                   ALVIN K. HELLERSTEIN
                                                   United States District Judge
